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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                  v.                       )
                                           ) Criminal No: 16-10343-ADB
SUNRISE LEE                                )
                  Defendant.               )
__________________________________________)

    DEFENDANT LEE’S RENEWED MOTION TO CONTINUE SENTENCING

       NOW COMES the Defendant, Sunrise Lee, through counsel, and hereby renews

her motion to continue her sentencing for all the reasons set forth in her previously filed

Motion to Continue Sentencing, [Doc. 1086]. In support thereof, counsel states the

following:

       1. The Court has never ruled on the merits of Doc. 1086.1

       2. Following the filing of Doc. 1086, the Court did continue the Defendant’s

            sentencing from January 8, 2020 to January 22, 2020, to allow additional time

            for all defendants to file responses to the Government’s restitution submissions.

       3. Counsel has been recently advised that despite the additional time, the

            Defendant’s PSR will not be updated to include her prior interview, conducted

            on October 27, 2019, or medical and social service records not already received

            by probation.


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 Today, the Court issued an Order [Doc. 1116] in which it inferred that the issue raised in Doc. 1086 may be moot.
The issue is not moot as set forth above.

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     4. Further, counsel has been advised that the Defendant will not be re-interviewed

         and no additional requests for social service or medical records will be

         requested.

     5. The Government has repeatedly objected to Doc. 1086.

         WHEREFORE, this Honorable Court is respectfully urged to continue the

         Defendant’s sentencing until such a time a proper and complete PSR can be

         prepared.

                                         Respectfully Submitted,




                                         Peter Charles Horstmann, Esq.
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                            CERTIFICATE OF SERVICE

I, Peter Charles Horstmann, Esquire herby certify that a copy of the instant motion was
filed through the ECF system and served upon all counsel of record including the United
States through its representatives AUSAs Nathaniel Yeager, Fred Wyshak and David
Lazarus, 1 Courthouse Way, Boston, MA 02110 on January 6, 2020.




                                         Peter Charles Horstmann, Esq.




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